Case 2:11-cv-09916-SSS-KES   Document 135   Filed 11/08/13   Page 1 of 7 Page ID
                                   #:2142
Case 2:11-cv-09916-SSS-KES   Document 135   Filed 11/08/13   Page 2 of 7 Page ID
                                   #:2143
Case 2:11-cv-09916-SSS-KES   Document 135   Filed 11/08/13   Page 3 of 7 Page ID
                                   #:2144
Case 2:11-cv-09916-SSS-KES   Document 135   Filed 11/08/13   Page 4 of 7 Page ID
                                   #:2145
Case 2:11-cv-09916-SSS-KES   Document 135   Filed 11/08/13   Page 5 of 7 Page ID
                                   #:2146
Case 2:11-cv-09916-SSS-KES   Document 135   Filed 11/08/13   Page 6 of 7 Page ID
                                   #:2147
Case 2:11-cv-09916-SSS-KES   Document 135   Filed 11/08/13   Page 7 of 7 Page ID
                                   #:2148
